          Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 1 of 11




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                      )
In re:                                                                ) Chapter 11
                                                                      )
KEVIN CONCANNON, LLC d/b/a LIFELINE                                   ) Case No. 23-90759 (CML )
PHARMACY, 1                                                           )
                                                                      )
                                      Debtor.                         )


                     DECLARATION OF CHARLES BERK IN SUPPORT OF
                      CHAPTER 11 PETITION AND FIRST DAY MOTIONS

         Charles Berk declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, as follows: 2

         1.        I am the Chief Restructuring Officer of Kevin Concannon, LLC d/b/a Lifeline

Pharmacy, the above-captioned debtor and debtor in possession (“Lifeline” or the “Debtor” or the

“Company”). I have held this position since July 10, 2023. The Debtor operates a specialty

community pharmacy in Edinburg, Texas, that distributes limited distribution drugs.

         2.        I submit this declaration in support of the First Day Motions (as defined below)

filed by the Debtor, and to familiarize the Court with the Company, its business, the circumstances

leading up to this Chapter 11 case. Except as otherwise indicated, the facts set forth in this

Declaration are based upon (i) my personal knowledge of the Debtor’s business and operations,

(ii) my review of relevant documents and information provided to me by the Debtor, and (iii) my

view based upon my general experience and knowledge as a restructuring professional.




1
  The Debtor in this Chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is: Kevin Concannon, LLC d/b/a Lifeline Pharmacy (7569). The Debtor’s service address is: 2500 West Trenton
Road, Edinburg, Texas 75839.
2
 Capitalized terms used but not defined herein have the meanings ascribed to them in the applicable First Day Motions
(defined and described below).



4875-6171-4802.3
        Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 2 of 11




       3.      I have a bachelor's degree in economics from Emory University, an MBA from

Rutgers University Graduate School of Management. I am a Certified Public Accountant (CPA),

Certified in Financial Forensics (CFF) and a Certified Insolvency and Restructuring Advisor

(CIRA). I have been practicing for over 35 years in the field of accounting, audit, financial

advisory and restructuring, with a focus in the healthcare industry.

       4.      The CBIZ professionals are well qualified to act on the Debtor’s behalf, given their

extensive knowledge and expertise in chapter 11 proceedings. I personally have over 20 years of

experience in the restructuring industry representing various parties-in-interest in chapter 11

bankruptcies across numerous industries, including hospitality, retail, real estate, and consumer

products. During that time, I have provided restructuring advisory services to various companies

and stakeholders in the troubled credit environment. I have also served as financial advisor to

Chapter 7 and Chapter 11 Trustees, and Plan Administrators, as well as serving as the Liquidating

and Plan Administrator on numerous healthcare related companies. My experience also includes

consulting on matters before the bankruptcy court which included forensic investigations,

litigation support, dispute advisory work and expert testimony.

       5.      CBIZ professionals specialize in corporate recovery and turnaround services,

including financial services, developing and reviewing organizational plans, forensic accounting,

analyzing pre- and post-petition operations, preparing liquidation analyses, assessing management

and company personnel, valuations, and related services. These services are essential to my ability

to perform duties as CRO in this case. CBIZ has an excellent reputation for the services it has

rendered in chapter 11 cases on behalf of debtors and creditors throughout the United States. The

Debtor has selected CBIZ to provide them services in this case based upon, among other things:

(a) the Debtor’s need to retain an independent officer charged with administering the Debtor’s day-




                                                 2
        Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 3 of 11




to-day operations in the case; (b) my extensive experience in providing financial advisory services

in chapter 11 cases such as these, along with the CBIZ personnel. I further submit that CBIZ is

well-qualified to provide services to the Debtor in a cost-effective, efficient, and timely manner.

The CBIZ personnel working on this matter will be overseen by me.

       6.      Since my retention as CRO, I have worked closely with the Company’s principal

and the Company’s counsel to understand the situation, strategize on how best to deal with the

Company’s capital structure and various pending and to-be-filed litigation, and otherwise prepare

for a restructuring that will allow the Company to emerge as a going concern, either stand-alone

or through a sale process.

       7.      This declaration is organized into four parts. Part I provides information about the

Debtor’s background and Mr. Concannon’s purchase of the Pharmacy; Part II describes Mobeen’s

alleged fraudulent activity and the Debtor’s resulting capital structure; Part III offers information

on the Company’s recent suspension by CVS Caremark (“Caremark”), its largest pharmacy benefit

manager; and Part IV summarizes the relief sought through the protections afforded by chapter

11, as well as the various motions and pleadings filed (the “First Day Motions”) requesting

operational and procedural relief to help the Company transition into chapter 11 and continue

ordinary course operations.

       8.      CBIZ was hired to help provide, among other things, (i) the Debtor’s creditors with

comfort that an alleged fraudulent scheme perpetrated by the Company’s prior owner, Mobeen

Ahmed (“Mobeen”), had ceased, (ii) a path towards correcting and resolving the consequences

that flowed from such alleged fraud and (iii) assurance to Caremark that there are no ongoing

schemes of artifice.




                                                 3
        Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 4 of 11




        9.       In that regard, CBIZ will be conducting an internal investigation that it plans to

share with the appropriate regulatory agencies and with the Court in connection with litigation that

the Debtor plans to institute during the course of the chapter 11 case. The corrective actions the

Company has taken and will take, with the assistance of its professionals, should place the

Company in a strong operational position. With the tools available to it under the Bankruptcy

Code, the Company should be able to shore up its financial situation and continue as a going

concern rather than liquidate.



   I.         Background / Purchase of the Company

        10.      The facts in this section are based upon my information and belief as a result of

discussions with various persons, and my initial inquiries into the Debtor’s situation since the time

CBIZ was retained by the Debtor.

        11.      The Debtor acquired Lifeline Pharmacy from Mobeen, the prior owner, on or about

October 31, 2022 (the “Sale Date”). Prior to that time, in or around April 2022, the Debtor’s

principal, Kevin Concannon, was contacted by Guy Stillwell of Stillwell RX Brokerage Firm (the

“Broker”) and presented with what Mr. Stillwell referred to as a “once in a lifetime deal” to

purchase the Pharmacy for $16.6 million, as Lifeline had grown quickly over the past two years.

        12.      Based upon my initial inquiries, which remains ongoing, it appears that the increase

in growth under Mobeen’s ownership was unusual. Point in fact, it appears that the Debtor’s

financial statements prepared while it was owned by Mobeen reflected growth from 2020 revenue

of $5.6 million to 2021 revenue of $46.9 million, more than a 700% increase.

        13.      Prior to the Sale Date, CCK Strategies, PLLC (“CCK”) was engaged to provide due

diligence to the buyer, Kevin Concannon LLC. In May 2022, CCK issued reviewed financial



                                                  4
        Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 5 of 11




statements as of April 30, 2022, December 31, 2021 and 2020 (the “CCK Report”). The CCK

financial statements presented Mobeen’s pharmacy had achieved significant sales and net income

increases from 2020 to 2021 and into the first four months of 2022. CCK reported that Members’

Equity was approximately $9.3 million as of April 30, 2022. It appears that Mobeen disbursed

approximately $7.8 million in the form of Distributions between May 1, 2022 and October 31,

2022.

        14.    In June of 2022, Mr. Concannon made a down payment of $25,000 towards the

purchase of the business while, simultaneously, he worked on purchase financing with two

potential lenders: (i) Newtek Small Business Finance, LLC (“Newtek”) for $4.65 million and

(ii) SLR Capital Partners, LLC (“SLR”) for $15 million. Newtek and SLR had preliminarily

agreed to a staggered closing whereby Newtek would fund first, then followed by SLR

approximately one month later. As it turned out, SLR backed out of the deal, contending it was

unable to verify Mobeen’s representation as to the accounts receivable values. As a result, Mobeen

agreed to provide the following seller financing notes: (i) Promissory Note A - in the amount of

$6,294,784.00; and (ii) Promissory Note B - in the amount of $575,000, (collectively the “Sellers’

Notes”). Promissory Note A matures on January 1, 2025, and calls for monthly payments of

$270,285.20.

        15.    The sale of the Pharmacy (the “Sale”) closed on October 31, 2022. The purchase

price was amended on October 31, 2022 to $10.9 million, plus the value of the inventory, primarily

in connection with accounts receivable becoming an Excluded Asset.

        16.    On or around the time of the Sale, Mobeen requested that he enter into a four-year

consulting agreement with the Debtor, pursuant to which he would assist in the transition, in

exchange for $50,000.00 per month, for a total of $2.4 million (the “Consulting Agreement”).




                                                5
         Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 6 of 11




         17.      Mobeen alleged that the Consulting Agreement was necessary to ensure a smooth

transition of the Pharmacy to the Debtor from both a business and a personnel perspective. Post

Sale, I was informed that Mobeen continued to be the primary person responsible for billing

including the submissions of Prior Authorizations.



   II.         Alleged Improprieties / Capital Structure

         18.      On or around November 7, 2022, just seven days after the Sale, the Debtor became

aware that Mobeen’s girlfriend and the Pharmacy’s office manager, intended to purchase another

similar type pharmacy in Harlingen, Texas, just twenty-five miles from Lifeline’s location in

Edinburg, Texas. After Mr. Concannon expressed surprise and dismay, and highlighted that the

any such purchase would violate a non-compete agreement, Mobeen’s girlfriend abandoned the

proposed transaction. It should be noted that Mobeen is currently involved in litigation stemming

from him breaking his non-compete in 2019 in another transaction, when he purchased Lifeline

Pharmacy.

         19.      Prior Authorization - Mr. Concannon believes, and Caremark has alleged,

someone at the Pharmacy impersonated doctors, and/or doctors’ staff, when they fraudulently

completed portions of online forms (Prior Authorizations) designed to persuade insurance

companies to cover prescriptions that would otherwise have not been covered—either because a

less expensive, alternative drug should have been used first, or because the patient’s symptoms did

not warrant use of the particular drug being prescribed. The physicians have told Caremark the

portion of the form they should have completed was not completed by their office. Mr. Ahmed

was allegedly the sole person responsible for completing all Prior Authorizations for Lifeline

Pharmacy.




                                                  6
         Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 7 of 11




        20.      E-vouchers - I am informed that, between November and December of 2022,

Mobeen allegedly billed approximately $1 million worth of medications that were never filled to

customers. 3 Mobeen either personally cashed-in e-vouchers, or directed his staff to cash-in e-

vouchers, for the popular drug, Mounjaro. This involved printing labels, which would be affixed

to the package and sold to the patient who had a prescription for the drug. The drugs were never

purchased from the pharmacy’s supplier, which was part of the requirement for “cashing-in” the

e-voucher. In fact, I was told that when the Debtor’s staff asked Mobeen why the orders were on

the shelf, Mobeen responded by expressly directing them not to fill the orders. E-vouchers are

designed to help offset the patient’s out of pocket costs. These prescriptions were never filled or

sold to patients, but the funds were received from the manufacturer, or the manufacturer’s

charitable foundation.

        21.      I am also informed that during December 2022 and January 2023, Mobeen

purchased $5.3 million worth of inventory for the Debtor (the “Inventory Purchase”) from

McKesson Corporation (“McKesson”), the Debtor’s main wholesaler. In connection with the

Inventory Purchase, I was told that Mobeen acquired a security interest in such inventory. To

effectuate the Inventory Purchase, Mobeen used a shared log-in to access McKesson’s site and

place the order. Based upon information and belief, Mobeen knew he was over ordering and that

the Debtor lacked funding to pay for the inventory in question.

        22.      The excessive Inventory Purchase jeopardized the Debtor’s goodwill with

McKesson and added to its financial problems. Over the following months, the Debtor negotiated

with McKesson and entered into a payment plan that (i) required the Debtor to buy goods on a




3
  Based upon my experience in the field, the standard practice for pharmacy is to order medication, then bill the
insurance carrier, fill it to the customer within fourteen (14) days or reverse the claim to the insurance carrier.



                                                        7
           Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 8 of 11




Cost on Delivery basis and (ii) charged interest on the outstanding balance of Mobeen’s Inventory

Purchase.

       23.      As of the Petition Date, the Debtor’s obligations to McKesson are in excess of $8.0

million.

       24.      Shortly after the Inventory Purchase during the December 2022/January 2023

period, Mobeen declared a default under the Seller Notes due to an alleged default with McKesson.

Mobeen threatened to implement foreclosure proceedings.

       25.      Upon information and belief, by the end of 2022 Mobeen had collected the account

receivables he was contractually owed, although during 2023 I was told he refused to transfer title

back to the Debtor. During my initial inquiry, there appears to be no accounting of the contractual

amount of accounts receivable owed to and collected by Mobeen. Upon information and belief,

Mobeen allegedly diverted several million dollars of accounts receivable to his own accounts and

failed to turn those funds over to the Debtor. In fact, I was told that in early 2023 Mr. Concannon

asked that he transfer all incoming accounts receivables to the Debtor’s bank account. Mobeen

allegedly replied “No.”

       26.      As a result of Mobeen’s alleged fraudulent conduct, in order to stay afloat, the

Company entered into several Merchant Cash Advances (each an “MCA” and collectively, the

“MCAs”). The MCAs were intended to supply immediate capital to ensure the Debtor continued

to operate.

       27.      On November 17, 2022, the Debtor entered into an MCA with Venture Debt, LLC

(“Venture”) for a total of $872,737.50 in funding in exchange for $1,215,000.00 in future

receivables.




                                                 8
          Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 9 of 11




          28.      On May 4, 2023, the Debtor entered into an MCA with Cloudfund LLC

(“Cloudfund”) for a total of $712,454.00 in exchange for $1,124,250.00 in future receivables.

          29.      On May 4, 2023, the Debtor entered into an MCA with Coldwater Capital LLC

(“Coldwater”) for a total of $424,985.00 in exchange for $749,500.00 in future receivables.

          30.      On May 22, 2023, the Debtor entered into an MCA with Symplifi Capital, LLC

(“Symplifi”) for a total of $600,000 in exchange for $894,000.00 in future receivables.

          31.      On May 31, 2023, the Debtor entered into an MCA with Coldwater Capital LLC

(“Coldwater”) for a total of $800,000 in exchange for $1,200,000.00 in future receivables.



   III.         Caremark Investigation

          32.      On or around April 18, 2023, Mobeen informed the Debtor he had received a fax

(the “Caremark Investigation Report”) from Caremark, contending it was a mere audit and that he

would handle the matter. Mobeen, however, did not provide the Debtor or its principal with the

Caremark Investigation Report, nor did he keep the Debtor updated with respect to any response

or any other communications with Caremark regarding the same.

          33.      Ultimately, as it turns out, Mobeen allegedly took no action with respect to the

Caremark Investigation Report. On June 9, 2023, the Debtor received correspondence from

Caremark stating that Caremark will be placing Lifeline Pharmacy on temporary adjudication

suspension for WellCare and Centene health plans effective June 19, 2023 (the “Suspension

Letter”). See Exhibit A. The basis for the Suspension Letter was that Lifeline Pharmacy was under

investigation due to alleged extensive fraudulent activity, both prior to and following, the

Pharmacy’s purchase by the Debtor.

          34.      Practically speaking, the Suspension Letter crippled the Debtor’s ability to generate

revenue: Caremark is the Debtor’s largest pharmacy benefits manager, accounting for roughly


                                                     9
         Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 10 of 11




85% the Company’s customers.

         35.      Since being retained by the Debtor, Counsel to the Debtor, CBIZ and I have

responded to Caremark’s Suspension Letter with a corrective action plan. This week were

informed that Centene has requested Caremark reinstate the Debtor. We have also been working

with McKesson, negotiating potential terms with the Debtor’s major supplier. Finally, we are

actively negotiating with a potential DIP lender.




   IV.         Relief Requested in Chapter 11

         36.      On August 2, 2023 (the “Petition Date”, the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code, as amended (the “Bankruptcy

Code”).

         37.      The Debtor intends to use the tools of the Bankruptcy Code to restructure its debts,

rightsize its capital structure, investigate and prosecute its claims against Mobeen, and preserve its

going concern value.

         38.      I have reviewed, and am familiar with, the content and substance of each First Day

Motion and believe that the relief sought therein motion (a) is necessary to enable the Company to

operate in Chapter 11 with minimal disruption or loss of productivity and value, (b) constitutes a

critical element in the Company’s ability to achieve a successful restructuring and maximization

of value for the estates’ stakeholders.




                                                   10
       Case 23-90759 Document 11 Filed in TXSB on 08/02/23 Page 11 of 11




                                         CONCLUSION

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information, and belief.

Executed this 2nd day of August 2023.



                                                           /s/ Charles M. Berk
                                                           Charles M. Berk
                                                           Chief Restructuring Officer




                                               11
